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                    IN THE UNITED STATES DISTRICT COURT                                MAY 292018           ~
                        FOR THE DISTRICT OF MARYLAND
                                                                                    ClERK U.S. DISTRICT COU"'"
                               -Northern Division-                                    DIsTRICT OF MARY!,Mt)'"
                                                                                         NIGHT DAOP 80)(



ROBERT CANDY; ANIlVLALPARK,
CARE AND RESCUE, INC.; and TRI
STATE ZOOLOGICAL PARK OF
WESTERN lVLARYLAND,INC.                                            MJG 18 CV15 4 9
                                                      Case No.                     _
                  Plaintiffs                          Action Filed: l\lay 23, 2018

                     -v-

PEOPLE FOR THE ETHICAL
TREATMENT OF ANIMALS, INC.;
BRITTANY PEET; HOLLY BROWN;
CASEY BROWN; KRISTINE STASER;
DELCIANNA WINDERS; COLIN
HENSTOCK; and CHRIS FONTES,

                 Defendants.


                 DEFENDANT PEOPLE FOR THE ETHICAL
           TREATMENT OF ANIMALS, INC.'S NOTICE OF REMOVAL

      Pursuant      to 28 U.S.C. ~~ 1332, 1441, and 1446, Defendant               People for the

Ethical Treatment     of Animals,    Inc. ("PETA") removes this action from the Circuit

Court for Allegany County, Maryland          to the United States      District Court for the

District of Maryland. As grounds for removal, PETA states as follows:

                                     INTRODUCTION

      1.     Plaintiffs Robert Candy; Animal Park, Care and Rescue, Inc.; and Tri-

State Zoological Park of Western Maryland,         Inc. brought this action against PETA,

and several of its attorneys,       employees,   and volunteers.    Plaintiffs     allege various

torts related to PETA's efforts to monitor the conditions in which Plaintiffs confine
and exhibit numerous species of animals at Tri-State Zoological Park of Western

Maryland, Inc. ("Tri-State") and Animal Park, Care & Rescue, Inc. ("Animal Park")

(together "Tri-State Zoo"), an unaccredited zoo owned and operated by Plaintiff

Robert Candy in Cumberland, Maryland, and to statements                       purportedly   made

regarding     the conditions at Tri-State         Zoo. Plaintiffs' asserted    claims relate to

PETA's      investigations,   public   interest     campaigns,    and    correspondence     with

government agencies regarding the conditions at Tri-State Zoo, as well as PETA's

July 2017 citizen lawsuit against the Plaintiffs, which alleges ongoing violations of

the Endangered Species Act ("ESA"), 16 U.S.C. ~~ 1531-1544, and its implementing

regulations    ("ESA Action"), and statements           allegedly made on social media by

Defendant Kristine Staser, an alleged resident of Ohio who has no official affiliation

with PETA.l

       2.       Because PETA, its employees, attorneys, and Ms. Staser are citizens

of States other than Maryland, Plaintiffs joined two Maryland citizens-Holly

Brown and Casey Brown (the "Brown Sisters")-who                         allegedly "visited the

Plaintiffs' facility" and "took photographs" of a lion in an "emaciated condition."

Complaint " 27. Plaintiffs joined the Brown Sisters solely for the purpose of

destroying    diversity   of citizenship.   As discussed below, Plaintiffs'          allegations

against the Brown Sisters are patently deficient. And even after resolving all issues




   1 The ESA Action, People for the Ethical Treatment of Animals, Inc. v. Tri-State
Zoological Parll of Western Maryland, Inc., et al., Case No. 1:17-cv-02148 (D. Md.), is
currently pending before the Honorable Marvin J. Garbis.
                                             -2-
of fact and law in Plaintiffs' favor, it is clear that Plaintiffs have not alleged any

possible claim against the Brown Sisters.

         3.     Accordingly, there is federal diversity jurisdiction as to the properly

joined Defendants.

                                    BACKGROUND

         4.     On May 23, 2018, Plaintiffs filed a Complaint in the Circuit Court of

Allegany County, Maryland, (attached hereto as Exhibit A) against PETA, its

attorneys Delcianna Winders and Brittany Peet, its employees Colin Henstock and

Chris     Fontes,   and   non-employee   Kristine   Staser     (collectively the   "Diverse

Defendants"), as well as the Brown Sisters.

         5.     The Complaint-which       was filed shortly        after the close of fact

discovery in the ESA Action-is           filled with bald assertions       and conclusory

statements.    The Complaint largely attacks PETA, its employees, and volunteers'

exercise of First Amendment rights. And it is intended to intimidate and silence

critics of Plaintiffs' facility and extort a settlement in the ESA Action.

         6.     Plaintiffs purport to assert claims against the Brown Sisters, alleging

that "[u]pon information and belief ... [they] were volunteers who were asked to act

as investigators and were compensated or reimbursed for expenses," Complaint

'1 25;   "arc not licensed as private investigators ...      [and] therefore, committed a

criminal misdemeanor by undertaking an investigation of the Plaintiffs' facility," id.

'1 26;   and "[d]uring 2017, Defendants Brown visited the Plaintiffs' facility under

false pretenses and took photographs of [a lion]," id.    '1 27.

                                          -3-
          7.        The     Complaint        asserts        five causes     of action     and    civil     conS]Jlracy

against        "all Defendants,"        presumably          including    the Brown Sisters:       (I) defamation;

(2) false       light;    (3) tortious     interference        with     business   relations     and prospective

advantage;         (4) civil conspiracy;          (5) trespass;      (6) and fraud. Plaintiffs       do not allege

anything         that    remotely      suggests      that    there    is a possibility    of even one of these

claims succeeding           against      the Brown Sisters for having taken photographs                      of a now

deceased lion.

          8.        The filing of the Complaint               is but one example         of Plaintiffs'     vexatious

filings that are an apparent               attempt     to drive up litigation       costs between         the parties

and undermine             the ESA Action.           Shortly     after    filing the ESA Action,           Defendants

filed a baseless         motion to dismiss, which was denied, and an unwarranted                            motion to

disqualify       the presiding      judge, which was also denied. See Motion to Dismiss,                       People

for the Ethical Treatment                of Animals,        Inc. v. Tri-State Zoological Parll of Western

Maryland,         Inc. et aI., No. 1:17-cv-02148-MJG                    (D. Md. July 31,2017),           ECF No. 15

(hereinafter        "PETA v. Tri-State"); Motion for Disqualification                       of Presiding       Judge,

PETA v. Tri-State,            No. 1:17-cv-02148-MJG                  (D. Md. July 31, 2017), ECF No. 25.

Plaintiffs'     claim that the ESA Action "was not filed in good faith," Complaint                            '1 45,   is

unsupportable,           especially      in light of the fact that           the U.S. District       Court denied

their motion to dismiss               the pending      action. Memorandum            and Order re: Motion to

Dismiss,        PETA v. Tri-State", No. 1:17-cv-02148-MJG                      (D. Md. July 31, 2017), ECF

No. 23.




                                                            -4-
       9.     Since the filing of the Complaint,       there   have been no further

proceedings in the Circuit Court.

       10.    After filing this Notice of Removal, PETA will promptly inform

Plaintiffs and any other adverse parties, in writing, of this Notice and will file a

copy of this Notice with the Clerk of the Circuit Court for Allegany County in

accordance with 28 U.S.C.     3   1446(d). A copy of the state court docket and all

documents filed in the state court action (other than the Complaint) is attached

hereto as Exhibit B.

                          VENUE AND JURISDICTION

       11.    Venue is proper in this Court pursuant to 28 U.S.C.    33   100(1), 1391,

1441(a), and 1446(a) because the Circuit Court for Allegany County, Maryland,

where this action was filed, is a state court within the Northern Division of the

United States District for the District of Maryland.

       12.    This Court has subject matter jurisdiction under 28 U.S.C.     3   1332(a)

because: (1) there is complete diversity of citizenship between Plaintiffs and all

properly joined Defendants;       (2) the amount   in controversy exceeds $75,000,

exclusive of interests and costs; and (3) all other requirements for removal have

been satisfied.

       13.    To the extent that Plaintiffs purportedly attempt to sue non-diverse

defendants, those defendants have been fraudulently joined. There is no possibility

of Plaintiffs successfully proving their claims against the non-diverse defendants




                                         -5-
and Plaintiffs joined those defendants for the sole purpose of defeating PETA's

removal rights.

                                      DISCUSSION

1.     There is Complete Diversity of Citizenship Between Plaintiffs and
       Defendants Not Joined for the Sole Purpose of Frustrating Removal.

       14.      There is complete diversity of citizenship here because Plaintiffs are all

Maryland citizens and all of the Diverse Defendants are citizens of States other

than Maryland, see Part LA infra; and because the citizenship of the Brown Sisters

should be ignored for the purposes of diversity jurisdiction as they have been

fraudulently joined in this action, see Part LB infra.

       A. Complete Diversity        Exists but for the Fraudulently-Joined         Brown
          Sisters.

             1. Plaintiffs   Are Citizens of Maryland.

       15.      Plaintiff Robert Candy is domiciled in Allegany County, Maryland. Mr.

Candy is and was at all relevant times the registered agent and principal of Tri-

State Zoological Park of Western Maryland, Inc. and Animal Park, Care and

Rescue, Inc.

       16.      For purposes of diversity jurisdiction, a corporation    IS   "a citizen of

every State ... by which it has been incorporated and of the State ... where it has

its principal place of business." 28. U.S.C.   S   1332(c)(1).

       17.      Applying these principles, Plaintiff Tri-State and Animal Park are

citizens of Mary land.

       18.      Plaintiff Tri-State is a Maryland corporation with its principal place of

business in Cumberland, lVlaryland.
                                           -6-
       19.     Plaintiff Animal Park is a Maryland corporation with its principal

place of business in Cumberland, Maryland.

             2. None of the Diverse Defendants        Are Citizens of Maryland.

      20.      Defendant   PETA is a Virginia non-stock corporation            and animal

protection charity pursuant to Section 501(c)(3) of the Internal Revenue Code with

its principal place of business in Norfolk, Virginia.

      21.      Defendant Brittany Peet is domiciled in Washington, D.C. Ms. Peet is

Director of Captive Animal Law Enforcement for the Foundation to Support Animal

Protection, also known as the PETA Foundation ("PETA Foundation"). The PETA

Foundation is a Delaware exempt corporation with its principal place of business in

Norfolk, Virginia.

      22.      Defendant Delcianna Winders is domiciled in Oregon. Ms. Winders is

Vice President and Deputy General Counsel for the PETA Foundation.

      23.      Defendant Colin Henstock is domiciled in Virginia. Mr. Henstock is an

employee of PET1\.

      24.      Defendant Chris Fontes    IS   domiciled   111   Virginia. Mr. Fontes    IS   an

employee of PET1\.

      25.      Defendant   Kristine Staser    IS,   according to the allegations       of the

Complaint, a resident of Ohio.

      B. The Brown Sisters Are Fraudulently             Joined     and Their Citizenship
         Should Be Ignored.

      26.      Even where the face of a complaint shows a lack of complete diversity,

removal based on diversity jurisdiction is nonetheless proper where there is no

                                         -7-
possibility of the plaintiff successfully proving his claims against the non-diverse

defendants or the non-diverse defendants are fraudulently joined. See McFadden v.

Fed. Nat 'I Mortg. Ass'n, 525 F. App'x 223, 227 (4th Cir. 2013).

       27.    To show that a non-diverse defendant has been fraudulently joined,

the removing party has the burden of establishing:

       that either (1) there is no possibility that the plaintiff would be able to
       establish a cause of action against the in-state defendant in state
       court; or (2) there has been outright fraud in the plaintiffs pleading of
       jurisdictional facts .... The defendant must show that the plaintiff
       cannot establish a claim against the non-diverse defendant even after
       resolving all issues of fact and law in the plaintiffs favor. In
       determining whether joinder is fraudulent, the court is not bound by
       the allegations of the pleadings, but may instead consider the entire
       record, and determine the basis of joinder by any means available.

Riverdale Baptist Church     V.   Certainteed Corp., 349 F. Supp. 2d 943, 947 (D. Md.

2004) (internal citations and quotation marks omitted).

       28.    Plaintiffs'   allegations   against   the Brown Sisters     are so patently

threadbare as to leave no doubt that Plaintiffs have no intention to prosecute any

claims against them. Rather, the Brown Sisters were added to the case solely as a

means to defeat diversity jurisdiction. See, generally, Martin      V.   Norfolk & W. Ry.

Co., 43 F.2d 293, 295 (4th Cir. 1930) ("when the defendant proffers facts "lead[ingJ

to the rational conclusion ... that the joinder was made without any purpose to

prosecute the action in good faith against the resident defendant and with the

purpose of fraudulently defeating the right of removal, the right of removal should

be sustained.").

       29.    All of Plaintiffs' claims against the Brown Sisters arise from the bare

fact that they allegedly took photographs of the lion Mbube "during           2017[.]" See
                                       -8-
Compiaint'l         27 (emphasis           added).2 Due to what the Plaintiffs                    allege was an illness,

the lion was in an "emaciated                     condition."         ld.   '1   27. Defendant        PETA, presumably

upon seeing         the photographs,             complained           to the U.S. Department                 of Agriculture

("USDA") about the condition                     of the lion, which allegedly                resulted       in "trauma      and

distress      to the lion, caused by PETA." ld. " 27. PETA also allegedly "published                                         the

photo" of the lion, "taken             surreptitiously              by an undercover             agent believed        to have

been Defendant          Brown." ld.         '1 30.
           30.      Plaintiffs     allege        "[u]pon      information           and     belief,   the    Browns        were

volunteers        who were asked [by PETAj to act as investigators                               and were compensated

or reimbursed           for expenses."            ld.   '1    25.     Plaintiffs      allege      further     that      "[ujpon

information        and belief' the Brown Sisters "are not licensed as private                                 investigators,

but   were       required        to be so by the laws                  of the       State    of Maryland,            therefore,

committed          a criminal        misdemeanor              by      undertaking           an    investigation          of the

Plaintiffs'      facility." ld.   '1 26.
           31.      Plaintiffs     do not          allege      that     the       photographs         of the      lion     were

misleading        in any way. Nor do they contend that the Brown Sisters published                                        these

photos or any misleading               statements            to the public. As the Complaint                   makes clear,

the Brown          Sisters   acted     merely        as volunteers               or agents       of PETA. Any alleged

distress      to the lion was caused                 solely by PETA's                alleged      conduct,     i.e., PETA's

complaint        to the USDA. ld.          '1"   27, 25.


    2 Plaintiffs' allegation that the Brown Sisters took photographs of the lion Mbube
in 2017 (long after death) is likely not a scrivener's error because a one-year statute
of limitations applies to defamation actions in Maryland. See Md. Code Ann., Cts. &
Jud. Proc. 9 5-105.
                                                              -9-
        32.      Based on these facts, Plaintiffs cannot possibly state a claim against

the Brown Sisters. As an initial matter, in the ESA Action, Plaintiff Robert Candy

verified interrogatory responses stating that the lion lVlbube"resided at the facility

from March 21, 2001 to December 15, 2016." Exhibit C.:lBecause the lion was not at

Tri State's premises "during 2017," the Brown Sisters could not have engaged in the

alleged conduct of photographing the lion during that time as alleged in Complaint



        33.     Although the Court need no further grounds for finding that Plaintiffs

cannot possibly recover against the Brown Sisters under the facts alleged in the

Complaint, additional reasons, demonstrated below, support a finding that Counts I

through VI against the resident defendants are fatally defective.

              1. Counts I, II, and III Share a Common Fatal Defect.

        34.     Counts I (defamation), II (false light) and III (tortious interference

with business relations/prospective advantage) all share one common defect: they

seek to impose vicarious liability upon an alleged agent for the conduct and alleged

harm    caused by the alleged principal.       Plaintiffs   do not allege that   taking

photographs of the lion caused Plaintiffs any harm. As the Complaint makes clear

that the Brown Sisters' role was limited to acting as volunteers or agents of PETA

in taking these photographs.       Plaintiffs do not allege that the Brown Sisters



   :1"[I]n determining whether an attempted joinder is fraudulent, the court is not
bound by the allegations of the pleadings, but may instead consider the entire
record, and determine the basis of joinder by any means available." Mayes v.
Rapoport, 198 F.3d 457, 464 (4th Cir.1999) (internal quotations and citations
omitted).
                                          -10-
published the photos or make any statements                   to the public about what they

observed or what the photos depict. Any adverse consequences alleged in the

Complaint flowed solely from PETA's subsequent publication of these photographs

to the USDA, and               PETA's descriptions      of the lion's appearance       in these

photographs.

       35.           As a result, there is no possibility of Plaintiffs' recovery on Counts I, II

and III against the Brown Sisters. The law is clear that individual liability upon

volunteer agents cannot arise from the subsequent acts of a principal over whom

the agents have no control or authority. See, e.g., Farber v. Brach & Scott, LLC,

2016 WL 5867042, at *4 (D. Md. Oct. 6, 2016) ("An agent is not subject to liability

for torts committed by the agent's principal that do not implicate the agent's own

conduct; there is no principle of 'respondeat inferior,'" quoting Restatement (Third)

of Agency       !i    7.01 cmt. d (2006)); United Magazines          Co. v. Murdoch   Magazines

Distribution,        Inc., 353 F. Supp. 2d 433, 441 (S.D.N.Y. 2004) (under principles oftort

law, an agent is not liable for its principal's alleged tortious conduct); Flaherty v.

Baybanh Merrirnach            Valley, N.A., 808 F. Supp. 55, 61 (D. Mass. 1992) (granting

summary judgment "because plaintiffs have offered no legal support for their

'respondeat inferior' theory that the attorney agents are somehow vicariously liable

for the tortious acts of their principals").

             2. Plaintiffs Do Not Allege Defamatory                  Conduct   Attributable   to
                the Brown Sisters.

       36.           The Complaint alleges no discernable defamatory conduct attributable

to the Brown Sisters             that   would entitle   Plaintiffs    to relief under Count I.

                                                -11-
Defamation requires that "the defendant made a defamatory statement to a third

person; that the statement was false; that the defendant was legally at fault in

making the statement;     and that the plaintiff thereby suffered harm." Gohari v.

Darvish, 363 I\Id. 42, 53, 767 A.2d 321, 327 (2001).

      37.      There is not even the proverbial "glimmer of hope" for Plaintiffs to

establish these elements. Plaintiffs have not identified any false statements made

by the Brown Sisters. Plaintiffs' allegations about alleged defamatory actions by "all

Defendants" fall short of ascribing any defama tory conduct to the Brown Sisters

that would entitle the Plaintiffs to relief. See, e.g., Jacllson v. Warning, 2016 vYL

7228866, at *4 (D. Md., Dec. 13, 2016) (defamation claims not viable where plaintiff

failed to specify which defendants made which defamatory statements, and instead

alleged in shotgun fashion that "[alII of the named defendants have" engaged in

defamatory conduct); Velencia v. Drezhlo, 2012 WL 6562764, at *8 (D. Md. Dec. 13,

2012) (defamation claims fatally defective where plaintiff failed to allege the date(s)

on which alleged defamatory statements were made and the persons to whom they

were communicated).

            3. The Complaint Does Not Allege Any Discernable        False Light
               Invasion of Privacy Attributable to the Brown Sisters.

      38.     There also is no possibility that Plaintiffs can recover against the

Brown Sisters on Count II. None of the conduct attributed to them amounts to false

light invasion of privacy. The Complaint is bereft of any facts alleging that the

photos of the lion attributed     false characteristics,   conduct, or beliefs to the

Plaintiffs, or that they were misleading in any way. Therefore, the photographs can

                                        -12 -
provide no basis for a false light invasion of privacy claim. See, e.g., Woodblll)' v.

Victory Van Lines, 286 F.Supp.3d 685, 698 (D. Md. 2017) ("[plaintiff] has asserted in

a conclusory fashion that the photograph 'place[d] her in a false light,' ...       but has

not asserted facts showing how the image 'attribute[d]            to [her] characteristics,

conduct or beliefs that are false,' as is required to maintain this claim"); Barnhart v.

Paisano Publications, LLC, 457 F. Supp. 2d 590, 594, 2006 WL 2972570 (D. Md.

2006) (where photograph did not distort plaintiffs true appearance, publication of

photograph taken at public event did not constitute false light invasion of privacy,

even though plaintiff did not consent to be photographed).

       39.      Even if the photographs were substantially misleading (and there is no

allegation in the Complaint that they were), there still is no possibility of recovery.

       40.      A   false light claim   reqmres   a   defendant    to   communicate      "to

the public at large, or to so many persons that the matter must be regarded as

substantially    certain to become one of public knowledge." Meaney v. Nationstar

Mortgage, 2018 \VL 1014927, at *4 (D. Md., Feb. 21, 2018) (quoting Cambridge Title

Co. v. Transamerica       Title Ins. Co., 817 F. Supp. 1263, 1278 (D. Md. 1992));

Rangarajan v. Johns Hopllins Health Sys. Corp., 2014 WL 6666308, at *6 (D. Md.,

Nov. 21, 2014) (same). The Complaint is bereft of any facts to suggest that the

Brown Sisters published the photographs to the public at large. This renders the

false light invasion of privacy claim against them hopelessly infirm.




                                           -13-
                4. The Complaint        Does Not Allege Tortious          Interference    by the
                   Brown Sisters.

          41.      Plaintiffs also do not allege any conduct attributable          to the Brown

Sisters     that    could conceivably entitle      them to relief for a claim of tortious

interference with business relations.

          42.      To establish   the    tort   of intentional   interference     with   economIC

relationships, "the conduct must be wrongful, independent from its effect on the

plaintiffs business relationships." Alexander & Alexander Inc. v. B. Dixon Evander

& Associates, Inc., 336 IVld.635, 656, 650 A.2d 260, 271 (1994). The Court of Appeals

defines         wrongful   conduct       as     "common    law    torts     and     violence     or

intimidation, defamation, injurious falsehood or other fraud, violation of criminal

law, and the institution or threat of groundless civil suits or criminal prosecutions

in bad faith." Id. (internal quotations omitted).

          43.      The predicate "wrongful conduct" of the Brown Sisters alleged in the

Complaint is (i) defamationwhich fails because the Complaint does not attribute the

publication of any defamatory statements to them; and (ii) false light invasion of

privacy-which         fails because the Complaint does not allege that the photos were

inaccurate or that the Brown Sisters communicated them to the public at large.

      44.          The only other alleged "wrongful conduct," is the Brown Sisters'

alleged failure to be licensed as private detectives when they took the photos of the

lion. Yet Maryland's Private Detectives Act defines the phrase "(p)rovide private

detective services" to mean "to provide, fo,. compensation,                 the service of ...

conducting an investigation[.)" Md. Code Ann., Bus. Gcc. & Prof. ~ 13-101(j)(I)(i)

                                                -14-
(emphasis added). An ordinary citizen volunteer who takes photographs at a zoo,

and who is not a professional detective working for a fee, commits no crime. And

the record is clear that the Brown Sisters acted as uncompensated volunteers. See

Transcript of Brittany Peet, PETA. v. Tri-State,      No. 1:17-cv-02148-MJG (D. Md.

July 31, 2017) (the transcript is forthcoming).

      45.    Because Plaintiffs cannot read the requirement of "compensation" out

of the Private Detectives Act, they therefore prop up their claims with the supposed

"belief' that the Brown Sisters were possibly compensated, by alleging that they

were either "compensated    Qr   reimbursed for expenses." Complaint    '1 25 (emphasis
added). Of course, the distinction between these two possible alternatives is critical,

because reimbursement     does not implicate the Private Detectives Act at all. But

nothing in the record would support a belief that the Brown Sisters received

anything other than nominal reimbursement for mileage and admission. They were

contacted with the understanding       that PETA was looking for "volunteers" to

document conditions at the facility, with the understanding           that   PETA "can

reimburse" for admission and mileage cost if necessary. Exhibit D.

      46.    Notably, there is no factual allegations as to the basis or source of

Plaintiffs' alleged "information and belief' that the Brown Sisters asked for, were

offered, ancUorreceived any compensation. It is therefore particularly troubling that

the Plaintiffs would level an accusation of criminal conduct against the Brown

Sisters, based on the clearly unsubstantiated     (alleged) belief that they did receive

"compensation." This disregard of the actual facts in the record can only be viewed


                                         -15 -
as a blatant, improper attempt, to manufacture claims against resident defendants

in order to defeat diversity jurisdiction. See Barlow v. John Crane-Houdaille, Inc.,

2015 WL 11070882, at *8 (D. Me\., Oct. 8, 2015) (in ruling on fraudulent joinder

petition, it is appropriate to inquire "into whether the plaintiff is pursuing claims

against resident defendants in good faith").

       47.     Lastly, even if the Court would credit Plaintiffs' baseless belief that the

Brown Sisters were compensated, it still would not salvage Count III. "[T]o

establish causation in a wrongful interference action, the plaintiff must prove that

the defendant's     wrongful or unlawful       act   caused   the destruction     of the

business     relationship   which was the target of the interference." Kaser v. Fin.

Prot. Mlltg., Inc., 376 Md. 621, 629, 831 A.2d 49, 54 (2003) (emphasis added); View

Point Med. Sys., LLC v. Athena Health, Inc., 9 F. Supp. 3d 588, 615 (D. Md. 2014)

(same).

       48.     Here, no conceivable causal link exists between the alleged unlawful

act (taking pictures without a license) and the alleged business losses claimed by

the Plaintiffs. The Private Detective Act allegation is no more than a red herring. It

has not been-and        cannot be-alleged    that Plaintiffs' losses would have been

averted if only the photos of the lion had been taken by a fully licensed private

detective.

       49.     Plaintiffs have not a glimmer of hope to establish that their business

relations rise and fall with the vagaries of whether the lion's photographers

required     (and/or had) certain licenses for one additional reason: this fact is


                                          -16-
inherently unknowable by those who conduct business with the Plaintiffs. Whether

the Brown Sisters required      01'   had a detective license therefore cannot feasibly be

the cause of anyone's decision whether to conduct business with the Plaintiffs.

            5. The Complaint          Does Not State       a Claim for Trespass        by the
               Brown Sisters.

      50.     There is no possibility that Plaintiffs can successfully establish a claim

of trespass against the Brown Sisters.

      51.     A trespass is defined as "an intentional        01'   negligent intrusion upon   01'



to the possessory interest in property of another." Schuman               v. Greenbelt Homes,

Inc., 212 Md. App. 451, 475, 69 A.3d 512, 526 (2013) (citation omitted). To establish

a case of trespass, Plaintiffs must allege: (1) an interference with a possessory

interest in its property; (2) through the Defendants' physical act or force against

that property; (3) which was executed without Plaintiffs' consent. Royal Inv. Group,

LLC v. Wang, 183 Md. App. 406, 445, 961 A.2d 665, 688 (2008).

      52.     Plaintiffs allege that the Brown Sisters "visited the Plaintiffs' facility

under false pretenses." Complaint        '1 27. But   Plaintiffs do not allege that the Brown

Sisters were not authorized to enter onto Plaintiffs' property to observe the animals

on display. In fact, in the ESA Action, Plaintiff Robert Candy testified that people

affiliated with PETA are not prohibited from entering Tri-State Zoo. Transcript of

Robert Louis Candy at 239:8-9, PETA v. Tri-State, No. 1:17-cv-02148-MJG (D. Md.

July 31,2017) ("[I] don't say PETA can't come to the zoo. We just ask if they belong

to PETA.") (attached hereto as Exhibit E).



                                             -17 -
       53.     Plaintiffs' trespass count rises (and falls) with the assumption that the

Brown Sisters obtained consent to visit the zoo by "false pretense." The Complaint

is bereft of any facts suggesting that the Brown Sisters were questioned by the

Defendants about their identities and purpose of their visit, or affiliation-let    alone

that they responded by making false or misleading statements ..'

       54.     Even when a cause of action is "not technically termed              fraud,"

compliance with fraud pleading standards is required when the "gravamen" of the

cause of action is fraud. See, e.g., Todd v. Xoom Energy Maryland, LLC, 2016 WL

727108, at *5 (D. Md., Feb 22, 2016). Here, although Plaintiffs' claim is technically

termed "trespass," the claim sounds in fraud because it is predicated upon alleged

fraudulently   obtained consent. See also, e.g. Murphy v. Capella Educ. Co., 589

Fed.Appx. 646, 657 (4th Cir. 2014) (since plaintiff "has not made sufficiently

particular allegations of such deceptive behavior," claim for false pretense failed as

a matter of law).

      55.      In order to establish a fraudulent misrepresentation    under Maryland

law, the plaintiff ordinarily     must show: "1) that the defendant      made a false

representation to the plaintiff; 2) that its falsity was either known to the defendant

or that the representation      was made with reckless indifference as to its truth;

3) that the misrepresentation    was made for the purpose of defrauding the plaintiff;



    -I Aside from alleging that Plaintiffs have "a sign that clearly states that anyone

affiliated with PETA must identifY themselves before being admitted," Complaint
'1 13, Plaintiffs do not allege that the Brown Sisters specifically were asked about
their affiliation with PETA, or that the alleged sign is even visible to members of
the public who enter the zoo.
                                         -18-
4) that the plaintiff relied on the misrepresentation                  and had the right to rely on it;

and   5)   that      the     plaintiff   suffered        compensable     injury      resulting     from     the

misrepresentation."        Awah v. Transunion, 201G WL 3257795, at *9 (D. I\Id., June 13,

201G) (citing Nails v. S & R, Inc., 334 Md. 398, 415, G39 A.2d GGO,GG8 (l9~J4»;

accord Thomas v. Nadel, 427 Md. 441, 451 n. 18, 48 A.3d 276, 282 n. 18 (2012);

Sass, 152 Md. App. at 429,832 A.2d at 260.

       5G.        Even if a more relaxed                pleading   standard    than    fraud     pleading    is

applied,   the Complaint         falls woefully short of establishing             any of these elements.

Nothing    would even remotely                support     the conclusion      that    the   Plaintiffs    were

deceived     by the Brown          Sisters,     or that     the Brown Sisters         procured      entry   by

anything     other    than     by paying       for admission.       The basic elements            of a "false

representation"      or "reliance"       by the Defendants          on anything       said by the Brown

Sisters are lacking. Because no facts support the conclusory assertion                           that consent

was obtained by false pretense,           the trespass       count fails as a matter of law."




   ,j Even assuming consent were obtained by misrepresentation (although there
are no [acts to support such an assumption), this does not salvage Plaintiffs'
claim. The Brown Sisters' alleged failure to disclose any alleged affiliation with
PETA when they entered Tri-State Zoo is not an interference             with Plaintiffs'
possessory interests in its facility. See Desnich v. Am. Broad. Companies, Inc., 44
F.3d 1345, 1353 (7th Cir. 1995) ("(Djefendants' test patients gained entry into the
plaintiffs'   premises by misrepresenting     their purposes (more precisely by a
misleading omission to disclose those purposes). But the entry was not invasive in
the sense of infringing the kind of interest of the plaintiffs that the law of trespass
protects; it was not an interference with the ownership or possession of land.").
Indeed,     several   courts  have    held  that   consent    to entry    obtained    by
misrepresentation     or a misleading omission is given legal effect. See, e.g., Food
Lion, Inc. v. Capital Cities/ABC, Inc., 194 F.3d 505, 517-18 (4th Cir. 1999)
(applying North and South Carolina trespass laws, the court held that successful
resume fraud alone did not constitute trespass, and that such a holding would not
                                          -19-
       57.      Therefore,    Plaintiffs'   have failed to allege any possible trespass       claim

against the Brown Sisters.

             6. Plaintiffs     Have    Not Alleged     Fraud   Attributable      by the Brown
                Sisters.

       58.      Plaintiffs    also do not allege any conduct attributable          to the Brown

Sisters that could entitle them to relief for a claim of fraud under Count VI.

       59.      Fraud requires a plaintiff to prove:

      (1) that the defendant made a false representation          to the plaintiff,
      (2) that its falsity was either known to the defendant or that the
      representation    was made with reckless indifference as to its truth, (3)
      that the misrepresentation      was made for the purpose of defrauding the
      plaintiff, (4) that the plaintiff relied on the misrepresentation  and had
      the right to rely on it, and (5) that the plaintiff suffered compensable
      injury resulting from the misrepresentation.

Ellerin v. Fairfax Sau., F.S.B., 337 Md. 21G, 229, G52 A.2d 1117, 1123 (1995).

      GO.       In order to seek relief on the ground of fraud, "Maryland             courts have

long required     parties    to plead fraud with particularity,"    McConnicll      v. Medtronic,

Inc., 219 Md. App. 485, 527, 101 A.3d 4G7, 492 (2014) (internal               citations   omitted),

which ordinarily     requires that a plaintiff:

      identify who made what false [representation),        when, and in what
      manner (i.e., orally, in writing, etc.); why the [representation] is false;
      and why a finder of fact would have reason to conclude that the
      defendant acted with scienter (i.e., that the defendant either knew that
      the [representation]  was false or acted with reckless disregard for its


protect the "interests underlying the tort of trespass-the    ownership and peaceable
possession of land"); see also Keyzer v. Amerlinll, Ltd., G18 S.E.2d 7G8, 772-73 (N.C.
Ct. App. 2005) (holding that private investigators who posed as potential clients in
order to investigate whether an attorney was abiding by confidentiality provisions
in a settlement agreement, were authorized to enter into attorney's property, and
thus, did not trespass, even though attorney's consent to the entry was based on
investigators' misrepresentations).
                                                -20-
          truth) and with the intention to persuade others to rely on the false
          [representation].

Id. at 492-93 (citing Spaulding v. Wells Fargo Banh, N.A., 714 F.3d 769, 781 (4th

Cir. 2013)).

          61.     The Complaint does not state any facts that suggest that the Brown

Sisters     committed     fraud. Simply alleging that    "[alII Defendants   engaged    in

fraudulent conduct by entering the premises under false pretexts or conspiring to

enter onto the premises by false pretext or active deception," Complaint       '1 67, does
not rise to the level of particularity required to properly plead the elements of fra ud.

Specifically, the Complaint does not identify what false representations      the Brown

Sisters allegedly made, to whom or in what manner the Brown Sisters allegedly

made false representations,       or that the Brown Sisters acted with scienter when

allegedly making such false representations, or that they acted with the intention to

persuade others to rely on the alleged false representations.     The Complaint is also

devoid of any factual allegations showing reliance or injury.

          62.     Accordingly, there is no possibility that Plaintiffs can successfully

prove a fraud claim against the Brown Sisters.

                7. The Complaint Does Not Allege Any Predicate      of Unlawful
                   Conduct Attributable to the Brown Sisters on Which to Sustain
                   Any Civil Conspiracy Claim.

      63.         Finally, there is no possibility that Plaintiffs can successfully prove

their civil conspiracy claims, under Count IV, against the Brown Sisters. Plaintiffs

have not alleged any conduct attributable            to the Brown Sisters     that   could

conceivably entitle them to relief for the underlying torts of defamation, false light,

                                           - 21-
tortiouH interference           with business       relations,   trespass,    and fraud. See Parts LB.2-6

supra; see also Manihhi v. Mass Transit Admin., 360 l\'1d. 333, 360 n.6, 758 A.2d 95,

110 (2000) ("[C]onspiracy is not a separate                  tort capable of independently            sustaining

an award          of damages        in the absence       of other    tortious     injury      to the plaintiff.")

(internal        quotation     marks and citation omitted).

           64.      Indeed,      Plaintiffs      civil conHpiracy allegations           are so confused       and

ambiguous          that in support,      they recite the same allegations               used to support     their

claim of trespass.           Compare Complaint         n 61-62     with id.   '['1 64-65.
II.        The Amount           in Controversy        Exceeds      $75,000.

           65.      The amount        in controversy       in this case is well         111   excess of $75,000.

Plaintiffs       request-for      each count-a        "judgment     against     all Defendants,      jointly and

severally in an amount not to exceed $74,500." See Complaint                            "'1 54, 57, 59, 62, 65,
69.

           66.      Generally,      "it is settled law that a plaintiff         may aggregate         his claims

against an opposing party and thereby satisfY the monetary                         requirement        for federal

jurisdiction."       Stone v. Stone, 405 F.2d 94, 96 (4th Cir. 1968) (citations                        omitted).

District courts have also recognized "[i]f a plaintiff                   can properly          aggregate   the ad

damnums           in two or more of her claims to establish              original jurisdiction         in federal

court,     then     the defendant        in the same        suit    can do so to effectuate            removal."

Connolly v. Volvo Truchs N. Am., Inc., 208 F.R.D. 600, 601 (N.D. Ill. 2002).

           67.       Here, Plaintiffs         collectively sue to protect a shared right or undivided

interest     in Tri-State       Zoo, which is "the creation         of [Defendant]         Robert Candy." See

Complaint          '112. Further,     Plaintiffs     purport to assert       multiple     claims for damages
                                                       -22-
against each named Defendant "jointly and severally." See Complaint                       '1'1 54,   57, 59,

G2, G5, G9. Further,     even if certain of Plaintiffs' claims for damages are overlapping,

damages      for Plaintiffs'     asserted     trespass    and fraud    claims    cannot     logically be

concurrent    with damages         for its defamation,       false light, and tortious     interference

claims. Such damages are qualitatively              different in nature.    Therefore, aggregation

of the total amount of damages places the amount in controversy                      far in excess of

$75,000.

       68.      Plaintiffs'     allegations    demonstrate      why the "amount       in controversy

[plausibly] exceeds the jurisdictional          threshold." Dart Chao/lee Basin Op. Co., LLC

v. Owens, 135 S. Ct. 547, 554 (2014); see also St. Paul Mercury Indem. Co. v. Red

Cab Co., 303 U.S. 283, 289 (1938) ("It must appeal' to a legal certainty                        that the

claim is really less than the jurisdictional         amount to justify dismissal.").

III.   All Other     Removal        Requirements         Are Satisfied.

       A. This Notice          of Removal      Is Timely.

       69.     This Notice of Removal is timely filed. Plaintiffs filed the Complaint on

lVlay23, 2018. PETA filed the Notice of Removal on May 30, 2018, prior to service of

any properly joined Defendants.          See 28 U.S.C. ~ 1446(b)(1).

       B. Consent       to Removal          is Not Required      in This Case.

       70.      For purposes        of removal      based    on diversity   jurisdiction      under      28

U.S.C. ~ 1332(a) and pursuant            to 28 U.S.C. ~ 1446(b), defendants          who have been

properly joined and served must consent to removal. But no defendant                      has yet been

served. (A defendant          may remove prior to service. See Caillouet v. Annapolis                Yacht

Co. LLC, 2016 WL 8737484, at *5 (D. Md., Aug. 5, 2016)).
                                                  - 23-
       71.   Defendants Holly Brown and Casey Brown are not properly joined in

this action, and therefore their consent to removal is not required.

       72.   By filing this Notice of Removal, PETA does not waive any defense

that may be available to it and reserves all such defenses.

                                   CONCLUSION

       WHEREFORE, Defendant PETA removes this action from the Circuit Court

of Allegany County, Maryland to the United States District Court for the District of

Maryland.


Date   May 29, 2018                        Respectfully submitted,


                                      ~              .. ~"
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                                          -24-
